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U.S. Department of Justice

Matthew M. Graves
United States Attorney

District of Columbia

Judiciary Center
GO D St. NW.
Washington, D.C, 20530

July 15, 2022

Edward J. Ungvarsky, Esq.
Ungvarsky Law, PLLC

114 North Alfred Street
Alexandria, VA 22314
ed@ungvarskylaw.com
http://www.ungvarskylaw.com

Re: United States v. Barton Shively

Criminal Case No. 21-151 CKK

Dear Mr. Ungvarsky:

This letter sets forth the full and complete plea offer to your client, Barton Shively
(hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on August 1, 2022. If your client accepts the terms and conditions
of this offer, please have your client execute this document in the space provided below. Upon
receipt of the executed document, this letter will become the Plea Agreement (hereinafter referred
to as “this Agreement’). The terms of the offer are as follows:

\, Charges and Statutory Penalties

-Your client agrees to plead guilty to Counts Two and Three of the pending Indictinent
charging assault on a federal officer, in violation of 18 U.S.C, § 1J!(a)Q). Your client understands
that pursuant to [8 U.S.C. 111(a)(1), the charge of Assaulting, Resisting, or Impeding Certain
Officers or Employees, involving physical contact, carries a penalty of not more than 8 years
incarceration, a fine of up to $250,000 and 3 years of supervised release.

In addition, your client agrees to pay a special assessment of $100 per felony conviction to
the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2021) (hereinafter “Sentencing Guidelines,” “Guidelines,” or

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“U,.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation. Further, your client
understands that, if your client has two or more convictions for a crime of violence or felony drug
offense, your client may be subject to the substantially higher penalties provided for in the career-
offender statutes and provisions of the Sentencing Guidelines,

2. Cooperation with Additional Investigation

Your client agrees to allow law enforcement agents to review any social media accounts
operated by your client for statements and postings in and around January 6, 2021, prior to
sentencing.

3, Nactual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately describes
your client’s actions and involvement in the offenses to which your clicnt is pleading guilty. Please
have your client sign and return the Statement of Offense as a written proffer of evidence, along
with this Agreement.

4, Additional Charges

In consideration of your client’s guilty plea to the above offenses, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. The Government wil] request that the Court dismiss the remaining counts of the
Indictment in this case at the time of sentencing. Your client agrees and acknowledges that the
charges to be dismissed at the time of sentencing were based in fact.

After the entry of your client’s plea of guilty to the offenses identified in paragraph | above,
your client will not be charged with any non-violent criminal offense in violation of Federal or
District of Columbia law which was committed within the District of Columbia by your client
prior to the execution of this Agreement and about which this Office was made aware by your
client prior to the execution of this Agreement. However, the United States expressly reserves its
right to prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16 and/or 22
D.C. Code § 4501, if in fact your client committed or commits such a crime of violence prior to or
after the execution of this Agreement.

5, Semlcncing Guidelines Analysis

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the Sentencing
Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to assist the Court in
determining the appropriate sentence, the parties agree to the following:

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A. Estimated Offense Level Under the Guidelines

The parties agree that the following Sentencing Guidelines sections apply:

Applicable guideline for 18 U.S.C. § 111 (aC): ULS.S.G, §2A2.2
Offense level for Officer | assault: 20
Offense level for Officer 2 assault: 20
U.S.S.G. § 3D1.4 Grouping (2 units) +2
Combined offense level 22
Acceptance of responsibility -3
Total 19

Acceptance of Responsibility

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S,.G,
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional |-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1(b), because your client has assisted authorities by providing timely notice of your client’s
intention to enter a plea of guilty, thereby permitting the Government to avoid preparing for trial
and permitting the Court to allocate its resources efficiently.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of an
adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any agreement
set forth above, should your client move to withdraw your client’s guilty plea after it is entered, or
should it be determined by the Government that your client has either (a) engaged in conduct,
unknown to the Government at the time of the signing of this Agreement, that constitutes
obstruction of justice, or (b) engaged in additional criminal conduct after signing this Agreement.

In accordance with the above, the Estimated Offense Level will be at Icast 19.
B. Estimated Criminal History Category

Based upon the tnformation now available to this Office your client has the following
criminal convictions:

1) 05/01/1985 - Retail Theft (0 criminal history points)

2) 06/09/1994 - Unlawful Delivery of Marijuana (0 criminal history points)
3) 01/19/1994 - Possession of Drug Paraphernalia (0 criminal history points)
4) 02/23/1993 — Harassment (0 criminal history points)

5) 05/30/1993 - Harassment (0 criminal history points)

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6) 10/06/1999 - Unlawful Possession of a Firearm (0 criminal history points)

Accordingly, your client is estimated to have zero criminal history points and your client’s
Criminal History Category is estimated to be (the “Estimated Criminal History Category”). Your
client acknowledges that after the pre-sentence investigation by the United States Probation Office,
a different conclusion regarding your clicnt’s criminal convictions and/or criminal history points
may be reached and your client’s criminal history points may increase or decrease.

C. Estimated Guidelines Range

Based upon the Estimated Offense Level and the Estimated Criminal History Category set
forth above, your client’s estimated Sentencing Guidelines range is 30 months to 37 months (the
“Estimated Guidelines Range”). In addition, the parties agrce that, pursuant to U.S.S.G. § 5E1.2,
should the Court impose a fine, at Guidelines level 19, the estimated applicable fine range is
$10,000.00 to $100,000.00. Your client reserves the right to ask the Court not to impose any
applicable fine.

The parties agree that, solely for the purposes of calculating the applicable range under the
Sentencing Guidelines, neither a downward nor upward departure from the Estimated Guidelines
Range set forth above is warranted, except the Government reserves the right to request an upward
departure pursuant to U.S.S.G. § 3A1.4, n. 4. Except as provided for in the “Reservation of
Allocution” section below, the parties also agree that neither party will seek any offense-level
calculation different from the Estimated Offense Level calculated above in subsection A.
However, the parties are free to argue for a Criminal History Category different from that estimated
above in subsection B.

Your client understands and acknowledges that the Estimated Guidelines Range calculated
above is not binding on the Probation Office or the Court. Should the Court or Probation Office
determine that a guidelines range different from the Estimated Guidelines Range is applicable, that
will not be a basis for withdrawal or recission of this Agrecment by either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

6. Agreement as to Sentencing Allocution

The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a), should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below.

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However, the parties agree that either party may seek a variance and suggest that the Court consider
a sentence outside of the applicable Guidelines Range, based upon the factors to be considered in
imposing a sentence pursuant to 18 U.S.C. § 3553(a).

7, Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and scriousness of your client’s misconduct, including
any misconduct not described in the charges to which your client is pleading guilty, to inform the
presentence report writer and the Court of any relevant facts, to dispute any factual inaccuracies
in the presentence report, and to contest any matters not provided for in this Agreement. The parties
also reserve the right to address the correctness of any Sentencing Guidelines calculations
determined by the presentence report writer or the court, even if those calculations differ from the
Estimated Guidelines Range calculated herein. In the event that the Court or the presentence report
writer considers any Sentencing Guidelines adjustments, departures, or calculations different from
those agreed to and/or estimated in this Agreement, or contemplates a sentence outside the
Guidelines range based upon the general sentencing factors listed in 18 U.S.C. § 3553(a), the
parties reserve the right to answer any related inquiries from the Court or the presentence report
writer and to allocute for a sentence within the Guidelines range, as ultimately determined by the
Court, even if the Guidelines range ultimately determined by the Court is different from the
Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of allocution
in connection with any post-sentence motion which may be filed in this matter and/or any
proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

8. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines, Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense(s)
authorizes the Court to impose any sentence, up to and including the statulory maximum sentence,
which may be greater than the applicable Guidelines range. The Government cannot, and does not,
make any promise or representation as to what sentence your client will receive. Moreover, it is
understood that your client will have no right to withdraw your client’s plea of guilty should the
Court impose a sentence that is outside the Guidelines range or if the Court does not follow the

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Government's sentencing recommendation. The Government and your client will be bound by this
Agreement, regardless of the sentence imposed by the Court. Any effort by your client to withdraw
the guilty plea because of the length of the sentence shall constitute a breach of this Agreement.

9. Conditions of Release

Your client agrees not to object to the Government’s recommendation to the Court at the
time of the plea of guilty in this case that your client be detained without bond pending your client’s
sentencing in this case, pursuant to 18 U.S.C. § 3143.

10. Waivers
A. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the Government
has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)may be
commenced or reinstated against your client, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencement or reinstatement of such
prosecution, It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of Offense
that is not time-barred on the date that this Agreement is signed.

B. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your client
agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-examine
witnesses against your client, to challenge the admissibility of evidence offered against your client,
lo compel witnesses to appear for the purpose of testifying and presenting other evidence on your
client’s behalf, and to choose whether to testify. If there were a jury trial and your client chose not
to testify at that trial, your client would have the right to have the jury instructed that your client’s
failure to testify could not be held against your client. Your client would further have the right to
have the jury instructed that your client is presumed innocent until proven guilty, and that the
burden would be on the United States to prove your client’s guilt beyond a reasonable doubt. If
your client were found guilty after a trial, your client would have the right to appeal your client’s
conviction. Your client understands that the Fifth Amendment to the Constitution of the United
States protects your client from the use of self-incriminating statements in a criminal prosecution.
By entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

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Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of Criminal
Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the admissibility
of statements made by a defendant in the course of plea discussions or plea proceedings if'a guilty
plea is later withdrawn. Your client knowingly and voluntarily waives the rights that arise under
these rules in the event your client withdraws your client’s guilty plea or withdraws from this
Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy sentence
and agrees that the plea of guilty pursuant to this Agreement will be entered at a time decided upon
by the parties with the concurrence of the Court. Your client understands that the date for
sentencing will be set by the Court.

C. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to appeal
the conviction in this case on any basis, including but not limited to claim(s) that (1) the statute(s)
to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct does not
fall within the scope of the statute(s). Your client understands that federal law, specifically 18
U.S.C. § 3742, affords defendants the right to appeal their sentences in certain circumstances. Your
client also agrees to waive the right to appeal the sentence in this case, including but not limited to
any term of imprisonment, fine, forfeiture, award of restitution, term or condition of supervised
release, authority of the Court to set conditions of release, and the manner in which the sentence
was determined, except to the extent the Court sentences your client above the statutory maximum
or guidelines range determined by the Court. In agreeing to this waiver, your client is aware that
your client’s sentence has yet to be determined by the Court. Realizing the uncertainty in
estimating what sentence the Court ultimately will impose, your client knowingly and willingly
waives your client’s right to appeal the sentence, to the extent noted above, in exchange for the
concessions made by the Government in this Agreement. Notwithstanding the above agreement to
waive the right to appeal the conviction and sentence, your client retains the right to appeal on the
basis of ineffective assistance of counsel, but not to raise on appeal other issucs regarding the
conviction or sentence.

D. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agrecment or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.
§ 3582(c)(2), but agrees to waive the right to appeal the denial of such a motion,

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E. Hearings by Video Teleconference and/or Teleconference

Your client agrees to consent, under the CARES Act, Section 15002(b)(4) and otherwise,
to hold any proceedings in this matter — specifically including but not limited to presentment, initial
appearance, plea hearing, and sentencing — by video teleconference and/or by teleconference and
to waive any rights to demand an in-person/in-Court hearing. Your client further agrees to not
challenge or contest any findings by the Court that it may properly proceed by video
teleconferencing and/or telephone conferencing in this case because, due to the COVID-19
pandemic, an in-person/in-Court hearing cannot be conducted in person without seriously
jeopardizing public health and safety and that further there are specific reasons in this case that
any such hearing, including a plea or sentencing hearing, cannot be further delayed without serious
harm to the interests of justice.

11. Use of Self-Incriminating Information

The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case or
in any related criminal or civil proceedings, any self-incriminating information provided by your
client pursuant to this Agreement or during the course of debriefings conducted in anticipation of
this Agreement, regardless of whether those debriefings were previously covered by an “off the
record” agreement by the parties.

12. Restitution

Your client understands that the Court has an obligation to determine whether, and in what
amount restitution applies in this case. Your client agrees to pay restitution pursuant to 18 U.S.C.
§ 3663(a)(3).

Your client acknowledges that the riot that occurred on January 6, 2021, caused, as of April
5, 2022, approximately $2,734,783.14 damage to the United States Capitol. Your client agrees
as part of the plea in this matter to pay restitution to the Architect of the Capitol in the amount
of $2,000.

Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit of the United States Attorney’s Office, as it directs. If you do not receive the disclosure form,
your client agrees to request one from usadc.ecfflu@usa.doj.gov. Your client will complete and
electronically provide the standard financial disclosure form to usadc.ecfflu@usa.doj.gov 30 days
prior to your client’s sentencing. Your client agrees to be contacted by the Financial Litigation
Unit of the United States Attorney’s Office, through defense counsel, to complete a financial
statement. Upon review, if there are any follow-up questions, your client agrees to cooperate with

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the Financial Litigation Unit. Your client promises that the financial statement and disclosures will
be complete, accurate and truthful, and understands that any willful falsehood on the financial
statement could be prosecuted as a separate crime punishable under 18 U.S.C. § 1001, which
carries an additional five years’ incarceration and a fine.

Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject lo immediate enforcement by the United States. If the
Court imposes a schedule of payments, your client understands that the schedule of payments is
merely a minimum schedule of payments and will not be the only method, nor a limitation on the
methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the
Court, your client agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

Your client certifies that your client has made no transfer of assets in contemplation of this
prosecution for the purpose of evading or defeating financial obligations that are created by this
Agreement and/or that may be imposed by the Court. In addition, your client promises to make no
such transfers in the future until your client has fulfilled the financial obligations under this
Agreement.

13, Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will have
breached this Agreement. In the event of such a breach: (a) the Government will be free from its
obligations under this Agreement; (b) your client will not have the right to withdraw the guilty
plea; (c) your client will be fully subject to criminal prosecution for any other crimes, including
perjury and obstruction of justice; and (d) the Government will be frec to use against your client,
directly and indirectly, in any criminal or civil proceeding, all statements made by your client and
any of the information or materials provided by your client, including such statements, information
and materials provided pursuant to this Agreement or during the course of any debriefings
conducted in anticipation of, or after entry of, this Agreement, whether or not the debriefings were
previously characterized as “off-the-record” debriefings, and including your client’s statements
made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure.

Your client understands and agrees that the Government shall be required to prove a breach
of this Agreement only by a preponderance of the evidence, except where such breach is based on
a violation of federal, state, or local criminal law, which the Government need prove only by
probable cause in order to establish a breach of this Agreement.

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Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from prosecution
for any crimes not included within this Agreement or committed by your client after the execution
of this Agreement. Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury, false
statements or declarations, or obstruction of justice relating to your cltent’s obligations under this
Agreement shall constitute a breach of this Agreement. In the event of such a breach, your client
will not be allowed to withdraw your client’s guilty plea.

14. Complete Agreement

No agreements, promises, understandings, or representations have been made by the parties
or their counsel other than those contained in writing herein, nor will any such agreements,
promises, understandings, or representations be made unless committed to writing and signed by
your client, defense counsel, and an Assistant United States Attorney for the District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal and
Superior Court Divisions of the United States Attorney’s Office for the District of Columbia. This
Agreement does not bind the Civil Division of this Office or any other United States Attorney’s
Office, nor does it bind any other state, local, or federal prosecutor. It also does not bar or
compromise any civil, tax, or administrative claim pending or that may be made against your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than
August 1, 2022.

Sincerely yours,

Wty I) Grave /

Matthew M. Graves
United States Attorney

Cmnery V. Coble

Emory V. Cole
Assistant United States Attorney

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DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorney, Edward
Ungvarsky. I fully understand this Agreement and agree to it without reservation. | do this
voluntarily and of my own free will, intending to be legally bound. No threats have been made to
me nor am | under the influence of anything that could impede my ability to understand this
Agreement fully. | am pleading guilty because | am in fact guilty of the offense(s) identified in
this Agreement.

] reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilly except those set forth in
this Agreement. | am satisfied with the legal services provided by my attorney in connection with
this Agreement and matters related to it.

Af, 2):
Date: F/ a5) BR PBaatinsS hg ne
a / Barton Shively —
Defendant ~

ATTORNEY’S ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed this Agreement with my client, Barton
Shively, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. I concur in my client’s desire to plead
guilty as set forth in this Agreement.

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vaedl 25/2732 VLA SV a

Edward Ungvarsky
Attorney for Defendant

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